              Case 2:15-cr-00083-RAJ Document 140 Filed 10/21/20 Page 1 of 1




                                                                HON. RICHARD A. JONES
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 3
 4
                              UNITED STATES DISTRICT COURT
 5                           WESTERN DISTRICT OF WASHINGTON
 6                                     AT SEATTLE

 7
     UNITED STATES OF AMERICA,                  ) No. CR15-083-RAJ
 8                                              )
                     Plaintiff,                 )
 9                                              ) ORDER GRANTING
                v.                              ) MOTION TO SEAL EXHIBIT
10                                              )
     ANDREW LEE HARRIS,                         )
11                                              )
                     Defendant.                 )
12                                              )
13
14           THIS MATTER has come before the Court on Defendant’s Motion to Seal

15   Exhibit B (BOP medical records) to his motion for compassionate release. The Court

16   has considered the motion and records in this case and finds there are compelling

17   reasons to file the exhibit under seal.

18           IT IS ORDERED that Defendant’s Motion to Seal (Dkt. #137) is GRANTED.

19   Exhibits B to Defendant’s motion for compassionate release shall remain filed under

20   seal.

21           DATED this 21st day of October, 2020.

22
23
                                                     A
                                                     The Honorable Richard A. Jones
24                                                   United States District Judge
25
26

                                                               FEDERAL PUBLIC DEFENDER
       ORDER TO SEAL EXHIBIT                                      1601 Fifth Avenue, Suite 700
       (USA v. Harris, CR15-083-RAJ) - 1                            Seattle, Washington 98101
                                                                               (206) 553-1100
